Case 1:17-cv-07378-PKC Document 442

On UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

VALASSIS COMMUNICATIONS, INC,
Plaintiff,
-against-
NEWS CORPORATION, et al.,
Defendants.
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CASTEL, U.S.D.J,

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17-cv-7378 (PKC)

ORDER

On September 2, 2020, this Court issued the following Order in this action:

The Court anticipates that jury trials in this District will restart on September 29,
2020. While criminal proceedings have priority, it is anticipated that some criminal
proceedings scheduled between September 29, 2020 and December 31, 2020 will
be resolved without trial. The undersigned has submitted this case to a trial-ready
calendar for trial between October 5, 2020 and December 18, 2020. The Court
realizes that the parties would like as much certainty and advance notice as possible.
The Court will do its best within the parameter of the present circumstances.

(Doc 441).

Jury trials in this District, in fact, restarted on September 29, 2020. Some criminal

cases between September 29, 2020 and December 31, 2020, in fact, resolved. The Court’s request

for a trial commencement date between October 5, 2020 and December 18, 2020 has been honored

and the Court is able to give the parties 45-days’ notice.

The trial of this action is set for November 30, 2020 at 9:30 a.m, The parties are

expected to be familiar with the instructions and Standing Orders of this Court

(https://www.nysd.uscourts.gov/covid-19-coronavirus), including the Instructions for Entering

 

 
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the Courthouse (https://Awww.nysd.uscourts. gov/sites/default/files/2020-

09/SDNY%20COVID%20ENTRY%20QUESTIONNAIRE%20GUIDE%209-2-2020.pdf).

  

   

SO ORDERED. EE. a LEB
fob

 

P. Kévin Castel
United States District Judge
Dated: New York, New York
October 16, 2020

 
